Case 6:24-cv-01764-PGB-RMN        Document 14   Filed 12/11/24   Page 1 of 1 PageID 84




                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                             ORLANDO DIVISION

 VICTOR ARIZA,

                     Plaintiff,

 v.                                              Case No: 6:24-cv-1764-PGB-RMN

 GOFRUIT, INC.,

                   Defendant.
 ___________________________________

                         CLERK’S ENTRY OF DEFAULT

       Pursuant to Fed.R.Civ.P. 55(a), default is entered against the defendant

 GOFRUIT, INC. in Orlando, Florida on the 11th day of December 2024.



                                                ELIZABETH M. WARREN, CLERK


                                                s/LDJ, Deputy Clerk


 Copies furnished to:

 Counsel of Record
